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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                                 NO.: 3:21-CR-107-NBB-RP

JAMARR SMITH, et al.

   SUPPLEMENTAL MOTION FOR REDUCTION IN TERM OF IMPRISONMENT
                 and/or COMPASSIONATE RELEASE

       COMES NOW, the Defendant, Jamarr Smith (hereinafter “Smith”), by and through the

undersigned counsel, and files this Supplemental Motion for Reduction in Term of Imprisonment

and/or Compassionate Release, and would state unto the Court as follows:

                                     I. INTRODUCTION

       On September 19, 2023, Jamarr Smith filed a motion for reduction in term of

imprisonment and/or compassionate release [210]. The government responded to that motion

[211], but the Court has not ruled on that motion at this time. Additional circumstances have

arisen for which Jamarr Smith requests compassionate release, at least on a temporary basis.

                                        II. STANDARDS

       As the Court is aware, under the amended version of USSG § 1B1.13 which is now in

effect, Court is permitted to reduce a term of imprisonment or impose supervised release with or

without conditions for extraordinary and compelling reasons. One of these reasons is:

       (3) Family circumstances of the defendant.

       (a) The death of incapacitation of the caregiver of the defendant’s minor child or

       the defendant’s minor child ….

USSG § 1B1.13 (b)(3)(A).
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                                       III. DISCUSSION

       As the Court will recall from Jamarr Smith’s presentence report, he has two small

children: Jamari (age 6) and Magesty (age 3). After his incarceration, these children have been in

the joint custody of his mother, Jackie Smith, and the children’s mother, Iantea Lee.

                                               IV.

       On April 10, 2024, Iantea Lee is having carpal tunnel surgery which will make her unable

to care for these children for approximately six weeks.

       Attached hereto as Exhibit D is an email from Mickie Dykes at Specialty Orthopedic

Group in Tupelo which discussed the limitations Ms. Lee will have as a result of this surgery.

The Court will see that she will have limited use of both hands with a lifting restriction of

nothing over five pounds. This will naturally make her unable to care for Jamarr Smith’s

children.

       Under the circumstances, Smith respectfully submits that he qualifies for the exceptional

circumstances which would permit him to, at least temporarily, be released from prison in order

to care for his small children.

       WHEREFORE, PREMISES CONSIDERED, Smith respectfully requests that the Court

grant an immediate reduction in his sentence and/or compassionate release on a temporary basis.

The defendant requests any further relief that the Court may find warranted in the premises.
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                                 RESPECTFULLY SUBMITTED,

                                 JAMARR SMITH

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                             BY: /s/ Goodloe T. Lewis               _
                                GOODLOE T. LEWIS, MSB # 9889
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                                 CERTIFICATE OF SERVICE

       I, GOODLOE T. LEWIS, attorney for JAMARR SMITH, do hereby certify that I have on

this date electronically filed the foregoing document with the Clerk of Court using the ECF

system which sent notification of such filing to all counsel of record, including:

Robert Mims
Office of the US Attorney
900 Jefferson Avenue
Oxford, MS 38655
rmims@usadoj.gov


       DATED: April 10, 2024.



                                                      /s/ Goodloe T. Lewis           _
                                                      GOODLOE T. LEWIS


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